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Entered: July 19, 2018
Signed: July 19, 2018

SO ORDERED




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                        at Greenbelt
                              In re: Case No.: 11−33377 − TJC              Chapter: 13
In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

   Ernestine C. J. Green
   debtor has no known aliases
   32 Joyceton Terrace
   Upper Marlboro, MD 20774
   Social Security No.: xxx−xx−4373
   Employer's Tax I.D. No.:


                                                FINAL DECREE

Petition for Relief under Chapter 13 of Title 11, U.S. Code was filed by or against the above−named debtor(s) on
11/30/11.

The estate of the above−named debtor(s) has been fully administered.

The deposit required by the plan has been distributed.

ORDERED, that Timothy P. Branigan is discharged as trustee of the estate of the above−named debtor(s); and the
Chapter 13 case of the above named debtor(s) is closed.



                                                    End of Order
fnldec − vharper
